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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                               RESCHEDULING NOTICE
                 -against -

QURAN NICHOLS,                                                 12 Cr. 679 (ER)

                                    Defendant.
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        The conference previously scheduled for October 28, 2020, is hereby rescheduled for

November 6, 2020, at 10:00 a.m. The conference will occur remotely and by telephone. The

parties are therefore directed to call the Court at (877) 411-9748 and enter access code 302 9857#.


Dated: New York, New York
       October 16, 2020

                                                          s/ Jazmin Rivera
                                                         Jazmin Rivera, Courtroom Deputy
